       Case 8-19-71382-ast           Doc 20       Filed 03/12/19   Entered 03/12/19 14:57:56




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In Re:                                                                 Case No.: 19-71382-ast

George Watt,                                                           Chapter 7

                       Debtor.
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                                    ORDER GRANTING RELIEF
                                   FROM THE AUTOMATIC STAY

        On March 7, 2019, the Motion (the “Motion”) of Alon Sheetrit (“Movant”), dated

February 26, 2019, came before the Court, for relief from the automatic stay with respect to the

premises known as 429 Bambrick Street, Oceanside, NY 11572 (the “Property”). This Court,

having considered the evidence presented and the arguments of the parties, and with good cause

appearing therefor, it is hereby

        ORDERED, that the automatic stay in effect pursuant to 11 U.S.C. § 362(a), is hereby

terminated pursuant to 11 U.S.C. Section 362(d)(1) as to Movant, its agents, assigns or

successors in interest, so that Movant, its agents, assigns or successors in interest, may take any

and all action under applicable state law to exercise its remedies against the Property, including

proceeding in Nassau County District Court, Index Number LT-006696-18/NA; and it is further

        ORDERED, that the Chapter 7 Trustee shall be served with a copy of the referee’s report

of sale within thirty (30) days of the report [if applicable], and shall be noticed with any surplus

monies realized from the sale of the Property; and it is further
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     ORDERED, that all other relief sought in the Motion is denied.




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Dated: March 12, 2019                                             Alan S. Trust
       Central Islip, New York                           United States Bankruptcy Judge
